Filed Case      1:19-cv-00027-GNS-HBB
                        19-CI-00013       Document 1-2 Kayla
                                    01/28/2019          FiledRountree,
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                                        COMMONWEALTH OF KENTUCKY
                                            HART CIRCUIT COURT
                                        CIVIL ACTION NO._______________
                                               DIVISION _________


        MERCEDES GONZALEZ, as ADMINISTRATRIX                                                  PLAINTIFFS
        OF THE ESTATE OF GILBERTO GONZALEZ

        and

        MERCEDES GONZALEZ, Individually


        V.                                            COMPLAINT

        POINT LOGISTICS, INC.                                                                DEFENDANTS
        640 E. Saint Charles Rd.
        Carol Stream, IL 60188

                 Serve:     Office of the Secretary of State
                            Summons Branch
                            700 Capital Ave., Ste. 86




                                                                                                                Presiding Judge: HON. CHARLES C. SIMMS, III (610193)
                            Frankfort, KY 40601

        -and-

        MAYBACH INTERNATIONAL GROUP, INC.
        5125 W. 123rd St.
        Alsip, IL 60803

                 Serve:     Office of the Secretary of State
                            Summons Branch
                            700 Capital Ave., Ste. 86
                            Frankfort, KY 40601

        -and-

        PATRICK JEAN-LOUIS
        451 Cherry Street
        Elizabeth, NJ 07208

                 Serve: Office of the Secretary of State
                        Summons Branch
                        700 Capital Ave., Ste. 86
                        Frankfort, KY 40601
                                                                                                                COM : 000001 of 000003




                                                  *    *   *   *   *

                 Come the Plaintiff, by counsel, and for their Complaint state as follows:



                 1. Gilberto Gonzalez was a resident of Jefferson County, Kentucky, when he died on

Filed                     19-CI-00013    01/28/2019            Kayla Rountree, Hart Circuit Clerk   EXHIBIT A
Filed Case   1:19-cv-00027-GNS-HBB
                     19-CI-00013       Document 1-2 Kayla
                                 01/28/2019          FiledRountree,
                                                           03/07/19HartPage  2 of
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                                                                                 ORIGINAL
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        August 27, 2018 in an automobile accident which occurred in Hart County, Kentucky. His wife,

        Mercedes Gonzalez, is the appointed administratrix of his estate.

               2. Mercedes Gonzalez was married to Gilberto Gonzales when he died on August 27,

        2018. Ms. Gonzalez is a resident of Jefferson County, Kentucky.

               3. The Defendant, Patrick Jean-Louis, based on information and belief, is and was a

        resident of Elizabeth, New Jersey,

               4. The Defendant, Point Logistics, Inc. is and was at all relevant times mentioned herein

        a/an Illinois Corporation doing business in the Commonwealth of Kentucky with a principal

        address of 640 E. Saint Charles Rd. Carol Stream, IL 60188.

               5. The Defendant, Maybach International Group, Inc. is and was at all relevant times

        mentioned herein a/an Illinois Corporation doing business in the Commonwealth of Kentucky

        with a principal address of 5125 W. 123rd St. Alsip, IL 60803.




                                                                                                              Presiding Judge: HON. CHARLES C. SIMMS, III (610193)
               6. On or about August 27, 2018 in Hart County, Kentucky, Patrick Jean-Louis operated a

        motor vehicle in a careless and negligent manner.

               7. As the result of Patrick Jean-Louis negligence, Gilberto Gonzalez died.

               8. The Defendant, Point Logistics, Inc. from the information known, was the employer

               of

        Patrick Jean-Louis and is vicariously responsible for the negligence of its employee.
               9. The Defendant, Maybach International Group, Inc. from the information known, was

        the employer of Patrick Jean-Louis and is vicariously responsible for the negligence of its

        employee.

               10. Defendants, Point Logistics and Maybach International Group, Inc. are responsible

        for the negligent, hiring and retention of Patrick Jean-Louis.

               WHEREFORE, Plaintiffs respectfully request as follows:
                                                                                                              COM : 000002 of 000003




               1. Judgment against the Patrick Jean-Louis, Point Logistics, Inc., Maybach International

        Group, Inc. and Motorist Mutual Insurance Company for all damages they are entitled to recover

        under Kentucky law, including but not limited to pain and suffering, funeral and medical



Filed                  19-CI-00013    01/28/2019             Kayla Rountree, Hart Circuit Clerk
FiledCase    1:19-cv-00027-GNS-HBB
                     19-CI-00013       Document 1-2 Kayla
                                 01/28/2019          FiledRountree,
                                                           03/07/19Hart
                                                                     Page   3 ofClerk
                                                                           NOT
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        expenses, and lost earnings;

               2. Judgment against Defendants Point Logistics, Inc., Mayback International Group, Inc.

        for Mercedes Gonzales loss of consortium.

               3. For the Plaintiffs’ costs and fees herein expended;

               4. For interest on all sums awarded as permitted by the law of the Commonwealth of

        Kentucky;

               5. For a trial by jury on all issues so triable;

               6. Any and all other relief to which the Plaintiffs may appear entitled.




                                                           Respectfully submitted,


                                                           _____________________________
                                                           David M. Scott




                                                                                                                   Presiding Judge: HON. CHARLES C. SIMMS, III (610193)
                                                           T. Paul Chumbley
                                                           Isaacs and Isaacs
                                                           1601 Business Center Court
                                                           Louisville, KY 40299
                                                           T: (502) 458-1000
                                                           david.scott@isaacsandisaacs.com
                                                           Attorney for Plaintiff




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Filed                 19-CI-00013      01/28/2019                 Kayla Rountree, Hart Circuit Clerk
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 Rev. 9-14                                                        Case #: 19-CI-00013
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                                                                  Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                  County: HART
 CR 4.02; Cr Official Form 1                      CIVIL SUMMONS


Plantiff, GONZALEZ, MERCEDES, ET AL VS. POINT LOGISTICS, INC., ET AL, Defendant


    TO: MAYBACH INTERNATIONAL GROUP, INC.
        5125 W. 123RD STREET
        ALSIP, IL 60803

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.




                                                                                                                                   Presiding Judge: HON. CHARLES C. SIMMS, III (610193)
                                                             Hart Circuit Clerk
                                                             Date: 1/28/2019




                                                  Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
      To:

 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000055040
CIRCUIT: 19-CI-00013 Long Arm Statute – Secretary of State
GONZALEZ, MERCEDES, ET AL VS. POINT LOGISTICS, INC., ET AL

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           Case 1:19-cv-00027-GNS-HBB Document 1-2 Filed 03/07/19 PageNOT5 of ORIGINAL
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 AOC-E-105        Sum Code: CI                                          03/06/2019 12:51:55 PM
 Rev. 9-14                                                        Case #: 19-CI-00013
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                                                                  Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                  County: HART
 CR 4.02; Cr Official Form 1                            CIVIL SUMMONS


Plantiff, GONZALEZ, MERCEDES, ET AL VS. POINT LOGISTICS, INC., ET AL, Defendant


    TO: PATRICK JEAN-LOUIS
        451 CHERRY STREET
        ELIZABETH, NJ 07208

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

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document delivered to you with this Summons.




                                                                                                                                   Presiding Judge: HON. CHARLES C. SIMMS, III (610193)
                                                                    Hart Circuit Clerk
                                                                    Date: 1/28/2019




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    This Summons was:

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                                                                                                                                   CI : 000001 of 000001




    Date:                           , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000055041
CIRCUIT: 19-CI-00013 Long Arm Statute – SOS - Restricted Delivery
GONZALEZ, MERCEDES, ET AL VS. POINT LOGISTICS, INC., ET AL

                                                             Page 1 of 1
           Case 1:19-cv-00027-GNS-HBB Document 1-2 Filed 03/07/19 PageNOT6 of ORIGINAL
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 Rev. 9-14                                                        Case #: 19-CI-00013
                                                                        81357-3
                                                                  Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                  County: HART
 CR 4.02; Cr Official Form 1                      CIVIL SUMMONS


Plantiff, GONZALEZ, MERCEDES, ET AL VS. POINT LOGISTICS, INC., ET AL, Defendant


    TO: POINT LOGISTICS, INC.
        640 E. SAINT CHARLES RD
        CAROL STREAM, IL 60188

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.




                                                                                                                                   Presiding Judge: HON. CHARLES C. SIMMS, III (610193)
                                                             Hart Circuit Clerk
                                                             Date: 1/28/2019




                                                  Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
      To:

 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000055039
CIRCUIT: 19-CI-00013 Long Arm Statute – Secretary of State
GONZALEZ, MERCEDES, ET AL VS. POINT LOGISTICS, INC., ET AL

                                                       Page 1 of 1
